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        Attorneys for Debtors and Debtors in
    8   Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
        INC., and SCOOBUR, LLC
    9
  10
                                   UNITED STATES BANKRUPTCY COURT
  11
                         CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES
  12
  13
                                                              Case No. 2:19-bk-14989-WB
  14        In re:                                            Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  15        SCOOBEEZ, et al.1
                                                              Chapter 11
  16                   Debtors and Debtors in Possession.

  17        Affects:                                          STIPULATION EXTENDING TIME TO
  18                                                          REPLY TO OBJECTIONS TO
            ■ All Debtors                                     APPLICATIONS FOR COMPENSATION
  19        □ Scoobeez, ONLY                                  Hearing
  20                                                          Date: December 5, 2019
            □ Scoobeez Global, Inc., ONLY                     Time: 10:00 a.m.
  21                                                          Place: Courtroom 1375
            □ Scoobur LLC, ONLY                                      U.S. Bankruptcy Court
  22                                                                 255 East Temple Street
                                                                     Los Angeles, CA 90012
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        1
  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

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    1                                               INTRODUCTION
    2              Scoobeez, Scoobeez Global, Inc., and Scoobur LLC, as debtors and debtors in possession (the
    3   “Debtors”), Hillair Capital Management LLC and its affiliates (“Hillair”), Shahan Ohanessian and
    4   Shoushana Ohanessian (together, the “Ohanessians”), and the Office of the United States Trustee (the
    5   “U.S. Trustee,” and together with the Debtors, Hillair, and the Ohanessians, the “Parties”), by and
    6   through their respective counsel of record, hereby stipulate and agree as follows:
    7                                                   RECITALS
    8              A.     On October 15, 2019, Armory Securities, LLC filed its FIRST INTERIM FEE APPLICATION
    9   OF ARMORY SECURITIES, LLC FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES

  10    FOR THE PERIOD FROM JULY 1, 2019 THROUGH AUGUST 31, 2019          [Docket No. 371] (the “Armory Fee
  11    Application”).
  12               B.     On October 15, 2019, Conway MacKenzie, Inc. filed its FIRST INTERIM FEE APPLICATION
  13    OF CONWAY MACKENZIE, INC. FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES

  14    FOR THE PERIOD FROM MAY 10, 2019 THROUGH AUGUST 31, 2019           [Docket No. 372] (the “Conway Fee
  15    Application”).
  16               C.     On October 15, 2019, Foley & Lardner LLP filed its FIRST INTERIM FEE APPLICATION OF
  17    FOLEY & LARDNER LLP FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
  18    THE PERIOD FROM APRIL 30, 2019 THROUGH AUGUST 31, 2019          [Docket No. 376] (the “Foley Fee
  19    Application”).
  20               D.     On October 16, 2019, Levene, Neale, Bender, Yoo & Brill L.L.P. filed its FIRST INTERIM
  21    APPLICATION OF LEVENE, NEALE, BENDER, YOO & BRILL L.L.P. FOR APPROVAL OF FEES AND
  22    REIMBURSEMENT OF EXPENSES INCURRED AS GENERAL BANKRUPTCY COUNSEL FOR THE OFFICIAL
  23    COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD OF MAY 22, 2019 TO AUGUST 31, 2019 [Docket
  24    No. 378] (the “LNBYB Fee Application,” and, together with the Armory Fee Application, the Conway
  25    Fee Application, and the Foley Fee Application, the “Fee Applications”).
  26               E.     The Fee Applications were duly noticed for hearing on December 5, 2019 (the
  27    “Hearing”).
  28               F.     On November 20, 2019, the U.S. Trustee filed the following objections: (1) OBJECTION

                                                                             STIPULATION EXTENDING REPLY DEADLINE
                                                         -1-
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    1   TO FIRST INTERIM FEE APPLICATION OF ARMORY SECURITIES, LLC FOR ALLOWANCE OF COMPENSATION

    2   AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM JULY 1, 2019 THROUGH AUGUST 31, 2019

    3   [Docket No. 446]; (2) OBJECTION TO FIRST INTERIM FEE APPLICATION OF CONWAY MACKENZIE, INC.
    4   FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM MAY 10,

    5   2019 THROUGH AUGUST 31, 2019 [Docket No. 447]; and (3) OBJECTION TO FIRST INTERIM FEE
    6   APPLICATION OF FOLEY & LARDNER LLP FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
    7   EXPENSES FOR THE PERIOD FROM APRIL 30, 2019 THROUGH AUGUST 31, 2019 [Docket No. 448]
    8   (collectively, the “U.S. Trustee Objections”).
    9              G.   On November 21, 2019, the Ohanessians filed their OBJECTION TO FIRST INTERIM FEE
  10    APPLICATION OF FOLEY & LARDNER LLP [Docket No. 449] (the “Ohanessians Objection”).
  11               H.   On November 21, 2019, Hillair filed its OMNIBUS OPPOSITION TO FIRST INTERIM FEE
  12    APPLICATIONS OF (I) FOLEY & LARDNER LLP, (II) CONWAY MACKENZIE, INC., (III) ARMORY SECURITIES,
  13    LLC, AND (IV) LEVENE, NEALE, BENDER, YOU, & BRILL L.L.P. (the “Hillair Objection,” and, together
  14    with the U.S. Trustee Objections and the Ohanessians Objection, the “Objections”).
  15               I.   No other objections to the Fee Applications were filed.
  16               J.   The current deadline for filing replies to the Objections is Friday, November 29, 2019
  17    (the “Reply Deadline”).
  18               K.   The Parties have conferred regarding the Reply Deadline, and agree to extend the Reply
  19    Deadline as set forth herein.
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                                                                            STIPULATION EXTENDING REPLY DEADLINE
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                                       PROOF OF SERVICE OF DOCUMENT
        I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
        Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411

        A true and correct copy of the foregoing document entitled (specify): STIPULATION EXTENDING TIME TO
        REPLY TO OBJECTIONS TO APPLICATIONS FOR COMPENSATION will be served or was served (a) on the
        judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
        General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
        document. On 12/02/2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
        determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the
        email addresses stated below:


                                                                                           Service information continued on attached page

        2. SERVED BY UNITED STATES MAIL:
        On (date) 12/02/2019, I served the following persons and/or entities at the last known addresses in this
        bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
        United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
        declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

          Honorable Julia W. Brand
          United States Bankruptcy Court
          Central District of California
          Edward R. Roybal Federal Building and Courthouse
          255 E. Temple Street, Suite 1382
          Los Angeles, CA 90012


                                                                                           Service information continued on attached page

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
        method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
        served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
        consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
        here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
        than 24 hours after the document is filed.


                                                                                           Service information continued on attached page

        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

           12/02/2019                 Ashley M. McDow                                              /s/ Ashley M. McDow

           Date                           Printed Name                                             Signature




               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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                                 PROOF OF SERVICE OF DOCUMENT CONT.
        1.         TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

             •     John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
             •     Riebert Sterling Henderson shenderson@gibbsgiden.com
             •     Vivian Ho BKClaimConfirmation@ftb.ca.gov
             •     Alvin Mar alvin.mar@usdoj.gov
             •     Ashley M McDow amcdow@foley.com,
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             •     Stacey A Miller smiller@tharpe-howell.com
             •     Kevin H Morse kmorse@clarkhill.com, blambert@clarkhill.com
             •     Shane J Moses smoses@foley.com
             •     Akop J Nalbandyan jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com
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             •     Anthony J Napolitano anapolitano@buchalter.com,
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             •     Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
             •     United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
             •     Eric K Yaeckel yaeckel@sullivanlawgroupapc.com




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